






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00721-CR






Henry Gauna, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 3040205, HONORABLE JON N. WISSER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



The motion to withdraw filed by appellant's appointed counsel on appeal, Mr. Gary
Taylor, is granted. (1)  The appeal is abated for the district court to immediately appoint substitute
counsel.  A copy of the order appointing substitute counsel shall be forwarded to this Court no later
than August 5, 2005.


				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Filed:   July 29, 2005

Do Not Publish
1.        Counsel has been employed as a federal public defender in Nevada effective August 1, 2005. 
Counsel previously filed a brief on appellant's behalf.


